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                       UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION


DEXTER JOHNSON                              §

v.                                          §       Cause # 4:10-mc-318
RICK THALER
Director, Texas                                     (THIS IS A DEATH CASE)
Department of Criminal Justice,
Institutional Division                      §

           MOTION TO APPOINT COUNSEL ON A HABEAS DEATH CASE

TO THE HONORABLE JUDGE OF SAID COURT;

COMES NOW, the Movant in the above and styled cause, by and through his attorney of record
and offers this Motion for Appointment of Counsel in a Habeas Death Case pursuant to 18
U.S.C. 3006 (a). He would show this Honorable Court the following:

   1) Mr. Johnson was convicted of capital murder and sentenced to death in the district court
      of Harris County in 2007.
   2) His direct appeal was affirmed in January 27, 2010. His original state writ was denied on
      June 30, 2010.
   3) Mr. Johnson has been indigent for the entire time of his charges and trial and appeals. He
      is without assets of any kind to the best of counsel’s knowledge, and this Honorable
      Court has before it a motion to proceed in forma pauperis.
   4) The undersigned counsel has been assigned to represent Mr. Johnson on his state post-
      conviction proceedings on an appointed basis up to now. He is familiar with the record
      and the matters raised on both appeal and in habeas. Undersigned counsel has been
      appointed in other death habeas cases, and is certified to handle capital murder cases in
      state court at trial, on direct appeal, and on habeas, pursuant to the actions of the Second
      Judicial Administrative Region of Texas
   5) The undersigned counsel believes he is best qualified and suited to represent Mr. Johnson
      on his federal pleadings. However, if this court should decide that another counsel would
      be in the best interest of the Petitioner then the undersigned respectfully prays that the
      Court will find other suitable counsel with similar qualifications to enable Mr. Johnson to
      prosecute his petition.


   FOR THESE REASONS, the undersigned counsel, on behalf of Mr. Johnson, respectfully
   moves that this Honorable Court appoint counsel to represent him in federal post-conviction
   proceedings pursuant to 21 U.S.C. Sec. 848(q).
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Respectfully submitted,

s/____________________________
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                               CERTIFICATE OF SERVICE
This is to certify that on ________________, a true and correct copy of the above and foregoing
document was served on the US Attorney General’s Office for the State of Texas at Capital
Station, Texas.
s/____________________________
Patrick F. McCann
